
This is an appeal from the determination of a deficiency in income tax for the year 1920 in the amount of $4,087.94. Five errors were *913alleged by the taxpayer to have been made by the Commissioner in connection with the audit of the return. No evidence was offered in support of four of the alleged errors. Testimony was taken with reference to the fifth.
FINDINGS OF FACT.
The taxpayer was an individual with legal residence at Savannah, Ga. He died on December 5, 1920.
In the original return filed by the taxpayer for the year 1920 there was included the sum of $4,033.33, representing the rental on furniture in a certain apartment at 1000 Park Avenue, New York City, which was then under lease, including the furniture therein, to one Yera L. S. Hopkins, of New York City. In the same return the taxpayer deducted as depreciation on the said furniture the sum of $1,000.
The Commissioner disallowed the $1,000 of depreciation, upon the ground that the furniture in question belonged to the daughter of the taxpayer, but he included the rental on the same as returned by the taxpayer. The daughter received from her father during the taxable year sums in excess of the rental of the furniture.
The furniture in question was given unconditionally by the taxpayer to his daughter by a written conveyance dated September 2T, 1913, duly witnessed, acknowledged, and delivered.
DECISION.
The deficiency should be computed upon a net income decreased in the amount of $4,033.33, on account of the foregoing rental erroneously included in the taxpayer’s return. In other respects the findings of the Commissioner are affirmed. Final determination will be settled on consent or on 15 days’ notice, under Rule 50.
